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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

ABNER ROCHELIEN,

             Plaintiff,

v.                                                  Case No. 5:21-cv-235-TKW-MJF

D. PADGETT,

             Defendant.
                                            /

                                       ORDER

      This case is before the Court based upon the magistrate judge’s Report and

Recommendation (Doc. 15). No objections were filed.

      Upon due consideration of the Report and Recommendation and the case file,

the Court agrees with the magistrate judge’s determination that this case should be

dismissed based on Plaintiff’s failure to pay the filing fee.

      Accordingly, it is ORDERED that the magistrate judge’s Report and

Recommendation is adopted and incorporated by reference in this Order; this case

is DISMISSED without prejudice; and the Clerk shall close the case file.

      DONE and ORDERED this 31st day of May, 2022.

                                         T. Kent Wetherell, II
                                        T. KENT WETHERELL, II
                                        UNITED STATES DISTRICT JUDGE



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